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Christ Troupis

From: Jonathan Parker [jparker@idgop.org]
Sent: Friday, May 21, 2010 2:44 PM

To: kroberts@house.idaho.gov; sbedke@house.idaho.gov; Idenney@house.idaho.gov;
mmoyle@house.idaho.gov; rlgeddes@senate.idaho.gov; bmdavis@senate.idaho.gov;
jstegner@senate.idaho.gov; rfulcher@senate.idaho.gov

Cc: norm@idgop.org
Subject: Cross-Over Voting in Ada County

Dear House and Senate Leadership,

Please see the email below from TJ Thomson, a Democrat Boise City Council member who ran Barack
Obama’s campaign in Idaho. He is organizing a cross-over voting campaign to elect Branden Durst’s
treasurer (Vern Bisterfeldt) and his running mate, who are running as Republicans in our Primary.

Please let me know if you have any questions. Thanks.

Jonathan

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~ VOTE this Tuesday~
Roger Simmons & Vern Bisterfeldt
Ada County Commissioners

Names you can trust!

Hello Friends,
Idaho's Primary Election is Tuesday, May 25, 8am-8pm. Regardless of your party affiliation, you can:
Republican Ballot and vote for both Vern Bisterfeldt and Roger Simmons.

Learn more about Vern Bisterfeldt: HERE

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Learn more about Roger Simmons: HERE

As the Treasure Valley faces difficult times, Ada County needs valuable leadership and know-how from
Bisterfeldt & Simmons more than ever to strengthen our communities. Their experience is unparalleled and
their commitment to improving the lives of Ada County citizens is unquestionable.

Bisterfeldt & Simmons offer a two-year, Five Point Plan that includes eliminating double-taxation by the
County on all citizens; redirecting more Ada County resources to economic development & job creation; and
bringing county assessed property values down to more realistic levels to reflect the current housing
market. Join Roger & Vern on FACEBOOK.

Find your polling location: HERE

Thank You for your consideration.
Want to volunteer for Roger & Vern? Reply to this email and let me know!

TJ Thomson
Boise City Council Member

PAID FOR BY TJ THOMSON FOR BOISE CITY COUNCIL
Join TJ Thomson on the following:

Linked!

6/30/2010
